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          United States Court of Federal Claims
                                           No. 05-1291 L
                                          October 10, 2008



Y ANKTON S IOUX T RIBE ,

                        Plaintiff,                                   Indian Trust Claims; Motion
                                                                     to Dismiss; Subject Matter
                                                                     Jurisdiction; Application of
v.                                                                   28 U.S.C. § 1500

T HE U NITED S TATES OF A MERICA,

                        Defendant.



Jeffrey M. Herman, Herman & Mermelstein, P.A., Miami, FL, for plaintiff.

James D. Gette, United States Department of Justice, Environmental Division, Washington, DC, for
defendant.

                                     O PINION AND O RDER

Block, Judge.

                                        I. INTRODUCTION

        This case evokes the jurisdiction of the United States Court of Federal Claims. In particular,
it implicates the application of section 1500 of Title 28 of the U.S. Code (2008), which divests this
court of that jurisdiction with regard to “any claim for or in respect to which the plaintiff . . . has
pending in any other court any suit . . . against the United States . . . .” Consequently, if a plaintiff
is prosecuting a claim in another court when the plaintiff files the same claim in the Court of Federal
Claims, the Court of Federal Claims may not adjudicate the plaintiff’s claim, even though subject
matter jurisdiction would otherwise lie. What constitutes “the same claim” is the crux of the § 1500
interpretive dilemma. Heavily criticized as unfair and unworkable, there have been calls for the
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repeal of § 1500.1 Nevertheless, despite a possible harsh outcome, paraphrasing Lord Nelson,2 this
court must rise to expectations, do its duty, and simply apply the statute.

        In the case sub judice, defendant, the United States, holds lands and natural resources in trust
for the benefit of plaintiff, the Yankton Sioux Tribe, a federally-recognized Indian tribe in South
Dakota. Plaintiff filed a complaint in the United States District Court for the District of Columbia
essentially alleging that defendant’s officers mismanaged plaintiff’s trust and failed to properly
account for trust funds. Two years later, while plaintiff’s case remained pending in district court,
plaintiff filed a similar complaint in this court, also alleging trust mismanagement and a failure to
properly account for trust funds. While the complaint in district court seeks declaratory and
injunctive relief, the complaint in this court seeks monetary damages.

        Here defendant has moved to dismiss plaintiff’s claim for lack of subject matter jurisdiction
pursuant to Rule 12(b)(1), RULES COURT OF FEDERAL CLAIMS (“RCFC”), citing the applicability of
28 U.S.C. § 1500 as its rationale. The issue in this case, as is probable in any § 1500 controversy,
is whether the complaint in district court and the complaint in this court assert the same claim. For
the reasons set forth below, because the two complaints as a matter of law assert the same claim,
§ 1500 applies. Accordingly, the court must grant defendant’s motion to dismiss.

                                  II. FACTUAL BACKGROUND

         Plaintiff, the Yankton Sioux Tribe, is a federally-recognized sovereign Indian tribe occupying
the Yankton Reservation in South Dakota. (Compl. ¶¶ 1, 4; Def.’s Am. Answer ¶¶ 1, 4.) Plaintiff
is eligible for special programs and services provided by the United States, due to its status as an
Indian tribe. (Compl. ¶ 1; Def.’s Am. Answer ¶ 1.) Because of this relationship, defendant holds
certain Yankton Reservation land and natural resources in trust, which the Bureau of Indian Affairs,
Department of Interior, manages and controls for plaintiff’s benefit. (Compl. ¶¶ 4, 7; Def.’s Am.
Answer ¶¶ 4, 7.) In this capacity, defendant has approved leases and granted other interests in
Yankton Reservation land and has correspondingly assumed the responsibility of collecting,
investing, and distributing the resulting income to plaintiff. (Compl. ¶ 7; Def.’s Am. Answer ¶ 7.)



1
 See Keene Corp. v. United States, 508 U.S. 200, 222 (1993) (Stevens, J. dissenting) (“Admittedly,
this is a badly drafted statute . . . . [I]t does not lend itself easily to sensible construction. Moreover,
the Court's interpretation of § 1500 today may have the salutary effect of hastening its repeal or
amendment.”); A.C. Seeman, Inc. v. United States, 5 Cl. Ct. 386, 389 (1984) (“Section 1500 is an
anachronism. It was first enacted in 1868, and over the years has been encrusted with numerous
shadings and tortured constructions.”). See generally Paul F. Kirgis, Section 1500 and the
Jurisdictional Pitfalls of Federal Government Litigation, 47 AM . U. L. REV . 301 (1997); Payson R.
Peabody et al., A Confederate Ghost that Haunts the Federal Courts: The Case for the Repeal of 28
U.S.C. § 1500, 4 FED . CIR. B.J. 95 (1994).
2
 Lord Horatio Nelson, “England expects that every man will due his duty,” at the battle of Trafalgar
(Oct. 21, 1805), in OXFORD DICTIONARY OF QUOTATIONS 558:19 (6th ed. 2004) (citing Robert
Southey, LIFE OF NELSON ch. 9 (1813)).

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        On July 28, 2003, plaintiff filed a complaint in the United States District Court for the
District of Columbia (“D.D.C. Compl.”) alleging that defendant’s officers, Gale Norton, then
Secretary of the Interior, and Paul H. O’Neill, then Secretary of the Treasury, failed to properly
manage and account for the trust’s property and funds as required by law. (D.D.C. Compl. ¶¶ 6, 15,
17.) In its district court complaint, plaintiff’s prayer for relief seeks:

               (1) . . . a declaration that the [d]efendants have not provided the tribe
               with a full and complete accounting of the Tribe’s trust funds as
               required by law; (2) . . . an injunction requiring the [d]efendants to
               provide a full and complete accounting of the Tribe’s funds; (3) . . .
               attorney’s fees and costs as provided by law; and (4) . . . other relief
               as may be just and equitable.

(D.D.C. Compl. at 10.)

          On December 14, 2005, while its case remained pending in district court, plaintiff filed suit
in the U.S. Court of Federal Claims alleging that defendant “breached its fiduciary and statutory duty
. . . by mismanaging [plaintiff’s] land, natural resources and the income derived therefrom,” and that
as a result, “[plaintiff] lost royalties, interest, income, profits and proceeds which [otherwise] would
have been earned . . . .” (Compl. ¶¶ 15–16.) Plaintiff also alleges that defendant has “failed to
provide an accounting from which [plaintiff] can discern the nature and extent of any losses
suffered.” (Compl. ¶ 23.) Plaintiff’s prayer for relief seeks “compensatory damages . . ., interest
costs, attorney’s fees, and all other further relief as this Court deems proper.” (Compl. at 6.)
Clearly, the issue before this court is whether it must dismiss the instant complaint under §1500
because the two claims are the same as a matter of law.

                                         III. DISCUSSION

         Defendant raises this §1500 issue in its RCFC 12(b)(1) motion to dismiss for lack of
jurisdiction. Even absent such a motion, plaintiff bears the burden of establishing this court’s
jurisdiction by a preponderance of the evidence. See Lujan v. Defenders of Wildlife, 504 U.S. 555,
561 (1992); Alder Terrace, Inc. v. United States, 161 F.3d 1372, 1377 (Fed. Cir. 1998) (citing
McNutt v. Gen. Motors Acceptance Corp. of Ind., 298 U.S. 178, 189 (1936)); Reynolds v. Army &
Air Force Exch. Serv., 846 F.2d 746, 748 (Fed. Cir. 1988). However, in deciding a motion to
dismiss for lack of jurisdiction where, as here, the facts are not controverted, this court must assume
that all of plaintiff’s factual allegations are true and draw all reasonable inferences therefrom in
plaintiff’s favor. Henke v. United States, 60 F.3d 795, 797 (Fed. Cir. 1995).

        Regardless of the possible application of § 1500, there is no facial question regarding subject
matter jurisdiction. The “Indian Tucker Act” grants the Court of Federal Claims jurisdiction over
“any claim against the United States . . . in favor of any tribe, band, or other identifiable group of
American Indians . . . whenever such claim is one arising under the Constitution, laws or treaties of
the United States, or Executive orders of the President, or is one which otherwise would be
cognizable in the Court of Federal Claims if the claimant were not an Indian tribe, band or group.”
28 U.S.C. § 1505 (2008). This last phrase, explicitly granting jurisdiction over claims that would


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“otherwise be cognizable” in this court mainly refers to the Tucker Act which confers on the Court
of Federal Claims jurisdiction over suits against the United States arising under the Constitution, an
act of Congress or any federal regulation, or upon any express or implied contract, or for liquidated
or unliquidated damages in cases not sounding in tort. 28 U.S.C. § 1491(a)(1) (2008).3 Simply
stated, the Indian Tucker Act allows a Native American tribe to bring suit in the Court of Federal
Claims like any other plaintiff. See Tohono O’Odham Nation v. United States, 79 Fed. Cl. 645, 652
(2007) (citing United States v. White Mountain Apache Tribe, 537 U.S. 465, 472 (2003)).

         All the same, the Tucker Act and the Indian Tucker Act are merely jurisdictional in nature;
they do not create substantive rights enforceable against the United States for money damages. See
White Mountain Apache Tribe, 537 U.S. at 472. A plaintiff must also cite a separate
money-mandating constitutional provision, statute, or regulation, which supports a claim for
damages against the United States. Khan v. United States, 201 F.3d 1375, 1378 (Fed. Cir. 2000);
see also United States v. Mitchell, 463 U.S. 206 at 216–17 (1983) (“the claimant must demonstrate
that the source of substantive law he relies upon can fairly be interpreted as mandating compensation
by the Federal Government for the damages sustained”) (internal quotations omitted). Regarding
Indian trust claims, like the case at bar, this separate substantive right may be found in a number of
statutes and regulations which establish the government’s fiduciary obligation to manage and operate
Indian land and resources. See Mitchell, 463 U.S. at 226. But, even if, as here, subject matter
jurisdiction is present, 28 U.S.C. § 1500 divests this court of that jurisdiction with regard to “any
claim for or in respect to which the plaintiff . . . has pending in any other court any suit . . . against
the United States . . . .”

         In determining whether § 1500 divests this court of jurisdiction, we begin with the statute’s
text, structure, and purpose. Prati v. United States, 81 Fed. Cl. 422, 430 (2008) (citing Lamie v.
United States Trustee, 540 U.S. 526, 534 (2004); U.S. Nat’l Bank of Oregon v. Indep. Ins. Agents
of Am., 508 U.S. 439, 455 (1993); Electrolux Holdings, Inc. v. United States, 491 F.3d 1327, 1330
(Fed. Cir. 2007)). Section 1500 is “awkwardly formulat[ed],” Keene, 508 U.S. at 210, and in its
entirety provides:

                The United States Court of Federal Claims shall not have jurisdiction
                of any claim for or in respect to which the plaintiff or his assignee has
                pending in any other court any suit or process against the United
                States or any person who, at the time when the cause of action alleged
                in such suit or process arose, was, in respect thereto, acting or
                professing to act, directly or indirectly under the authority of the
                United States.




3
 28 U.S.C. § 1491(a)(1) provides, in pertinent part, “The United States Court of Federal Claims shall
have jurisdiction to render judgment upon any claim against the United States founded either upon
the Constitution, or any Act of Congress or any regulation of an executive department, or upon any
express or implied contract with the United States, or for liquidated or unliquidated damages in cases
not sounding in tort.”

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Stripping away the excess verbiage, the core of § 1500 mandates that “[the Court of Federal Claims]
shall not have jurisdiction of any claim . . . in respect to which the plaintiff . . . has pending in any
other court any suit . . . against the United States . . . .” (emphases added). The phrase “in respect to”
is roughly analogous to the word “concerning,” which means “relating to” or “regarding,” MERRIAM -
WEBSTER ’S COLLEGIATE DICTIONARY 257, 1061 (11th ed. 2003), and compels this court to compare
the claim before it to those pending in any other court. See Keene, 508 U.S. at 210 (“[Section] 1500
requires a comparison between the claims raised in the Court of Federal Claims and in the other
lawsuit.”); Harbuck v. United States, 378 F.3d 1324, 1328 (Fed. Cir. 2004); Loveladies Harbor, Inc.
v. United States, 27 F.3d 1545, 1549 (Fed. Cir. 1994). Thus, if the comparison reveals that plaintiff
is simultaneously prosecuting the same claim against the United States in another court, § 1500
divests this court of jurisdiction. Holloway v. United States, 60 Fed. Cl. 254, 256 (2004).

         Section 1500’s purpose is illuminated by its legislative history, which was thoroughly
discussed in UNR Indus., Inc. v. United States, 962 F.2d 1013, 1017–19 (Fed. Cir. 1992) and then
summarized in Keene, 508 U.S. at 206–07. The statute’s roots trace back to the Civil War’s aftermath
when ex-Confederate soldiers or supporters brought claims against the government for the cotton it
seized during the war. Id. at 206. The Abandoned Property Collection Act, ch. 120, 12 Stat. 820,
allowed these claimants to pursue their suits in our predecessor court, the Court of Claims, under the
condition that the claimants prove that they had not aided the Confederacy—a hurdle that proved
difficult to overcome. Keene, 508 U.S. at 206. In order to improve their chances of recovery, these
claimants filed suits against federal officials in other courts, not under the aforementioned statutory
cause of action, but instead under tort theories such as conversion. Id. (citing David Schwartz,
Section 1500 of the Judicial Code and Duplicate Suits Against the Government and its Agents, 55
GEO . L.J. 573, 574–80 (1967)). This duplication of suits prompted Congress to prohibit anyone from
filing in the Court of Claims “any claim . . . for or in respect to which he . . . shall have commenced
and has pending” an action in any other court against an officer or agent of the United States. Id.
(citing Act of June 25, 1868, ch. 71, § 8, 15 Stat. 77). The statute lives on today with only minor,
non-substantive changes in its text.4

         In light of the statute’s history and text, courts have concluded that § 1500’s purpose is two-
fold: first, “to protect the United States from having to defend two lawsuits over the same matter
simultaneously;” and second, “to force plaintiffs to choose between pursuing their claims in [this
court] or in another court.” United States v. County of Cook, 170 F.3d 1084, 1090–91 (Fed. Cir.
1999) (citing UNR, 962 F.2d at 1019). Courts have consistently interpreted § 1500 in a manner that
effectuates this dual purpose.




 4
   The only legislative comment or note accompanying § 1500 when it was adopted in 1948 was that
 the text’s changes were “in phraseology” only. UNR, 962 F.2d at 1019 (citing Reviser’s Notes, 28
 U.S.C. § 1500, p. 1862). Since then, the only changes to the statute’s text were those made to reflect
 the history of this court; i.e., the transition from the Court of Claims to the Claims Court and then
 from the Claims Court to the current Court of Federal Claims. Pub. L. No. 102-572, § 902(a)(1)
 (1992); Pub. L. No. 97-162 (1982).

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        For example, the Supreme Court in Keene5 announced that “the comparison of the two cases
for purposes of possible dismissal would turn on whether the plaintiff’s other suit was based on
substantially the same operative facts as the Court of Claims action, at least if there was some overlap
in the relief requested.” 508 U.S. at 212. Regarding how much similarity or “overlap” between the
operative facts can be tolerated, the Court in Keene pointed to the “in respect to which” language in
§ 1500 as an indication that “Congress did not intend the statute to be rendered useless by a narrow
concept of identity providing a correspondingly liberal opportunity to maintain two suits arising from
the same factual foundation.” Id. at 213. While this statement in the Court’s opinion appears to give
§ 1500 a broad preclusive effect, Keene expressly left open the issue of whether claims based on the
same operative facts, but seeking completely different relief would implicate § 1500—an issue the
Court of Claims decided in 1956, in Casman v. United States.6 See id. at n.6 (emphasis added).

       When the Federal Circuit again took up the Casman situation referenced in Keene, it held that
“for the Court of Federal Claims to be precluded from hearing a claim under § 1500, the claim
pending in another court must arise from the same operative facts, and must seek the same relief.”


 5
   Keene was a company that manufactured and sold thermal insulation and acoustical products
 containing asbestos. Keene, 508 U.S. at 202. After multiple parties sued Keene in tort for allegedly
 exposing them to asbestos fibers, Keene filed a third-party complaint against the United States in the
 District Court for the Western District of Pennsylvania, seeking indemnification or contribution. Id.
 Keene’s third-party complaint proceeded on the theory that the products the asbestos claimants had
 been exposed to, had in fact, been supplied to the government pursuant to government contracts and
 in accordance with specifications laid out by the government in those contracts. Id. at 203. While
 Keene’s claim was pending in district court, Keene filed suit in the Court of Federal Claims on a
 breach of implied warranty theory, seeking amounts “which may be recovered from Keene by the
 claimants, by settlement or judgment.” Id. Keene filed yet another suit against the United States,
 this time in the District Court for the Southern District of New York, on various tort theories, plus
 an additional Fifth Amendment takings theory. Id. at 204. This third suit also sought damages for
 the amounts paid by Keene to asbestos claimants. Id. Keene’s final move was to file a fourth suit
 back in the Court of Federal Claims, this time advancing the same takings theory as in district court
 and seeking amounts that the United States recouped from the asbestos claimants whom Keene
 already paid. Id. at 204–05. The Court of Federal Claims dismissed the two suits before it, citing
 28 U.S.C. § 1500. Id. at 205. The dismissal was ultimately upheld by the Federal Circuit sitting en
 banc. Id.; UNR, 962 F.2d at 1025. On a grant of certiorari, the Supreme Court affirmed, holding
 that when applying § 1500 “dismissal . . . turn[s] on whether the plaintiff’s other suit was based on
 substantially the same operative facts as the [Court of Federal Claims] action, at least if there [is]
 some overlap in the relief requested. That the two actions [are] based on different legal theories
 [does] not matter.” Id. at 212 (internal citations omitted).
6
  In Casman, plaintiff alleged he was illegally dismissed from his government position. 135 Ct. Cl.
 647, 647 (1956). He brought suit in the Court of Claims for back pay, while he had pending a suit
 seeking reinstatement in district court. Id. The court stated that the relief he sought was “entirely
 different” because neither court had the power to grant the relief requested in the other; i.e., the Court
 of Claims could not reinstate plaintiff and the district court could not award monetary damages. Id.
 at 650. Accordingly, the court held that § 1500 did not apply. Id.

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Loveladies Harbor, Inc.,7 27 F.3d at 1551 (emphasis in original). However, in an earlier portion of
the opinion, the court framed the rule differently, stating, “[t]he issue . . . is whether § 1500 denies
jurisdiction to the Court of Federal Claims if, at the time a complaint for money damages is filed,
there is a pending action in another court that seeks distinctly different relief.” Id. at 1549 (emphasis
added). Later, the court returned to the “distinctly different” formulation when it stated, “[if] the
claims are distinctly different, [plaintiffs] are excused from the jurisdictional dance required by
§ 1500.” Id. Read in its entirely, the rule of Loveladies is this: if the operative facts are the same, but
the relief requested is “distinctly different,” then § 1500 does not apply. See id. at 1549–51.

        Setting the Keene and Loveladies formulations of § 1500 side-by-side, it becomes clear that
they are two sides of the same coin:

                (a) If the operative facts are substantially the same and there is some
                overlap in the relief requested, then § 1500 applies. Keene, 508 U.S.
                at 212.

                (b) If the operative facts are the same, but the relief requested is
                distinctly different, then § 1500 does not apply. See Loveladies, 27
                F.3d at 1549–51.

        Thus, Keene frames the rule in the positive; Loveladies frames the rule in the negative. See
Tohono O’Odham Nation, 79 Fed. Cl. at 656 (“[T]he inquiry is whether there is meaningful overlap
both in the underlying facts and in the relief sought in the two actions. A perfect symmetry of relief
is not necessary”); Ak-Chin Indian Cmty. v. United States, 80 Fed. Cl. 305, 316 (2008) (“[T]he
difference between the analyses in Keene [] and Loveladies . . . center[s] on . . . whether the relief
sought in both courts is ‘distinctly different’ or if there is ‘some overlap’ . . . . [The issue] is whether
plaintiff’s claims are based on the same operative facts and whether the relief plaintiff seeks in both
courts contains ‘some overlap’ or is ‘distinctly different.’”) (internal citations omitted).

        Assuming that the § 1500 comparison reveals that plaintiff’s claims present substantially the
same operative facts, § 1500 will divest this court of jurisdiction unless the relief sought is “distinctly
different.” See Loveladies, 27 F.3d at 1549. The fact that the first complaint seeks additional relief
beyond what is sought in the second complaint, however, does not preclude § 1500 from applying.
See Harbuck, 378 F.3d at 1329 (“The inclusion of other and different requested relief in the two


 7
   In Loveladies, plaintiff owned a tract of wetlands. Id. at 1547. When plaintiff sought a fill permit
 from the Army Corps of Engineers, the permit was denied. Id. Plaintiff challenged the permit denial
 in federal district court. Id. While plaintiff’s claim was pending in district court, plaintiff filed suit
 in the Court of Federal Claims, maintaining that the permit denial was a taking of private property
 and seeking monetary damages. Id. The Court of Federal Claims awarded plaintiff damages and
 the government appealed on the grounds that § 1500 deprived the Court of Federal Claims of subject
 matter jurisdiction. Id. at 1547–48. The Federal Circuit proceeded on the assumption that the
 operative facts were the same between the two claims, but concluded that the relief sought was
 “distinctly different.” Id. at 1552, 1554. Thus, the Federal Circuit held that the Court of Federal
 Claims had jurisdiction to hear plaintiff’s claim. Id. at 1556.

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complaints does not avoid the application of [§ 1500]”). In other words, § 1500 may apply even if
there is only “some overlap” in the relief requested. Keene, 508 U.S. at 212.

         Furthermore, when comparing the claims as § 1500 requires, it is the similarity of the
operative facts and the relief sought that controls, rather than the underlying legal theories. See
Keene, 508 U.S. at 212 (“That . . . two actions [are] based on different legal theories [does] not
matter.”) Johns-Manville Corp. v. United States, 855 F.2d 1556, 1563 (Fed. Cir. 1988) (“[W]e
construe the term ‘claim’ in 28 U.S.C. § 1500 to be defined by the operative facts alleged, not the
legal theories raised.”). Conversely, if the claims present distinctly different operative facts, § 1500
does not apply. See d’Abrera v. United States, 78 Fed. Cl. 51, 58 (2007) (“[I]f a material factual
difference exists between two claims, they are not the same for the purposes of Section 1500”);
Heritage Minerals, Inc. v. United States, 71 Fed. Cl. 710, 716 (2006) (“while claims may be
supported by some common operative facts, [s]ection 1500 is not implicated where the material facts
supporting each claim are characterized as largely dissimilar”) (internal quotations omitted). With
the above framework for a § 1500 analysis firmly established, a comparison of plaintiff’s claims, both
in their operative facts and in the relief they request, is in order.

A. Comparison of Operative Facts

         To aid in the comparison of operative facts, two appendices to this opinion have been created.
Appendix A of this opinion is a side-by-side comparison of the enumerated averred facts in both the
district court complaint and the complaint in this court. Appendix B constitutes a side-by-side
comparison of the stated claims for relief in each complaint.8 Even a cursory glance at these
appendices reveals that plaintiff’s claims are very similar.

         Of the 14 paragraphs of alleged facts in plaintiff’s complaint in this court, 10 are either
identical or nearly identical to those found in plaintiff’s district court complaint. Turning to the
differences, the additional text in paragraph 10 of the complaint in this court includes statements of
law—namely additional fiduciary duties arising out of the same trust relationship alleged in the
district court complaint. Paragraph 15 of the Court of Federal Claims complaint contains plaintiff’s
conclusions that defendant breached its fiduciary and statutory duties owed to plaintiff.
Consequently, neither paragraph 10, nor paragraph 15 alleges an operative fact.

        Paragraph 16 of the complaint in this court does contain an allegation of operative fact not
word-for-word contained in the district court complaint. In the Court of Federal Claims complaint,
plaintiff alleges that “as a result of Defendant’s mismanagement, the Tribe has lost royalties, interest,
income, profits and proceeds . . . .” (Compl. ¶ 16.) But, while not word-for-word the same, paragraph
17 of the district court complaint contains essentially the same allegation, to wit: “Defendant’s
mismanagement of trust funds has resulted in losses to the Tribe, a trust beneficiary.” (D.D.C.
Compl. ¶ 17.)


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  The only material omitted from these appendices are: (1) the identification of the parties concerned;
 (2) the statements of jurisdiction; (3) plaintiff’s legal citations; (4) a large block quote from a
 Congressional report in paragraph 16 of the district court complaint; and (5) plaintiff’s prayers for
 relief which are reproduced within this opinion.

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        Significantly, paragraph 17 of the Court of Federal Claims complaint contains the allegation
that plaintiff has a claim pending in district court seeking an accounting and “[t]o the extent that such
an accounting . . . determines that the tribe has a monetary claim against the [d]efendant, the tribe
seeks damages on that claim . . . .” Paragraph 17 is notable in two respects. First, plaintiff concedes
therein that it has a related claim pending against defendant in district court. Second, and more
importantly, plaintiff acknowledges that an accounting is necessary for the Court of Federal Claims
to award monetary damages to plaintiff. As will be more fully explained below, this is significant
because if an award of monetary damages necessitates an accounting, then there is potential overlap
in the relief requested in both courts. (D.D.C. Compl. at 10.)

        The remainder of plaintiff’s stated claims, as reproduced in Appendix B, allege breaches of
duty arising from the same trust relationship and involving the same trust property. Indeed, both
complaints begin by setting out plaintiff’s claims in an almost identical manner. (Compare D.D.C.
Compl. ¶ 24 (“Defendants owe the Tribe a fiduciary duty and obligations of the highest responsibility
and trust to administer the Tribe’s trust proper and trust funds with the greatest skill and care
possessed by the trustee”); with Compl. ¶ 19 (“Defendant owes the Tribe a fiduciary duty and
obligations of the highest responsibility and trust to administer the Tribe’s trust lands and funds
properly with the greatest skill and care possessed by the trustee”)).

        Despite the apparent similarities between the factual allegations of the two complaints,
plaintiff argues that there are distinctions to be drawn in both sets of operative facts. (Pl.’s Opp’n to
Mot. to Dismiss at 11–12.) Plaintiff identifies paragraphs 15, 16, 20–22, and 27 of its Court of
Federal Claims complaint and contends that these “material allegations . . . are not to be found in [the]
District Court Complaint; nor are these allegations otherwise comparable or similar to [the]
allegations contained in the District Court Complaint.” (Pl.’s Opp’n to Mot. to Dismiss at 11–12.)
But these contentions are clearly erroneous. To be sure, as discussed above, paragraph 15 merely
states a legal conclusion, and paragraph 16 contains the same factual allegations as paragraph 17 of
the district court complaint. Moreover, the remainder of the complaints simply focus on differing
aspects of the same trust relationship. Thus, paragraphs 20–22 and 27 of the complaint in this court
focus on defendant’s management of the trust property, while paragraphs 25–27 and 29–30 of the
complaint in district court focus on defendant’s alleged failure to account for trust property and funds.
This difference in focus simply does not give rise to a substantial or material difference in the alleged
operative facts. Indeed, in a case factually similar to the one at bar, this court in E. Shawnee Tribe
of Okla. v. United States, 82 Fed. Cl. 322, 326–27 (2008), concluded:

               [T]he claims in the case in the district court and in the instant action
               are basically different manifestations of the same underlying claim that
               the government failed properly to administer and manage Eastern
               Shawnee's trust land and assets. The two claims involve the same
               parties, the same trust corpus, and the same breach of the same trust
               duties over the same time period. The only apparent factual difference
               is a narrower focus on the accounting aspects of the alleged breaches
               of trust duties in the district court complaint.

The court in Ak-Chin reached the same result:


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               The nature of Indian trust cases and the government's trust
               responsibility owed to Indian tribes does not lend itself to a simple
               delineation or separation of operative facts as they pertain to the
               government’s various duties owed to Indian tribes. It is not apparent
               to the court how it could address facts related to the government's duty
               to invest and deposit plaintiff's trust funds without considering the
               facts related to the government's overall trust obligations owed to
               plaintiff, including its duty to account.

80 Fed. Cl. at 319.

        In sum, while there is a slight difference in focus between plaintiff’s claims, this difference
does not implicate enough additional operative facts to avoid the application of § 1500. See also
Passamaquoddy Tribe v. United States, 82 Fed. Cl. 256, 285 (2008) (“[I]t is of no consequence that
plaintiff styles its suits to focus on different trust duties, when the proof of breach of each of those
purportedly distinct duties will necessarily require review of the same facts.”). To conclude otherwise
would allow “the statute to be rendered useless by a narrow concept of identity providing a
correspondingly liberal opportunity to maintain two suits arising from the same factual
foundation”—a result that Congress did not intend. Keene, 508 U.S. at 213. After comparing the
claims presented here and in district court, this court concludes that these claims present substantially
the same operative facts. However, such a conclusion, standing alone, is insufficient to preclude this
court from hearing plaintiff’s case. Loveladies, 27 F.3d at 1551. Accordingly, this court now turns
to the second prong of the § 1500 analysis—a comparison of the relief requested.

B. Comparison of the Relief Requested

       In its district court complaint, plaintiff’s prayer for relief seeks:

               (1) . . . a declaration that the [d]efendants have not provided the tribe
               with a full and complete accounting of the Tribe’s trust funds as
               required by law; (2) . . . an injunction requiring the [d]efendants to
               provide a full and complete accounting of the tribe’s funds; (3) . . .
               attorney’s fees and costs as provided by law; and (4) . . . other relief as
               may be just and equitable.

(D.D.C. Compl. at 10.) By comparison, plaintiff’s prayer for relief in the Court of Federal Claims
asks for “compensatory damages against [d]efendant, interest, costs, attorney’s fees, and all other
and further relief as this Court deems just and proper.” (Compl. at 6.)

        In opposition to defendant’s motion to dismiss, plaintiff argues that the two claims “seek
entirely different relief,” because the complaint in this court “seeks only monetary damages,” while
the complaint in district court “seeks only equitable, non-monetary relief.” (Pl.’s Opp’n to Mot. to
Dismiss at 1.) By “equitable, non-monetary relief,” plaintiff refers to its request in district court for
a declaratory judgment and an injunction requiring an accounting. (See D.D.C. Compl. at 10.)
Admittedly, if this court were to limit its analysis solely to the phrasing of plaintiff’s prayers for


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relief—a request for a declaratory judgment and an accounting in district court, and monetary
damages in the Court of Federal Claims—plaintiff’s argument might carry the day. However, this
court must also read these complaints “in light of the legal and factual circumstances [upon] which
they were drawn.” Loveladies, 27 F.3d at 1554.

        Upon review of the attending legal circumstances in this case, two dispositive legal certainties
stand out. First, in breach of trust cases, an accounting is required before a court may award monetary
damages.9 E. Shawnee, 82 Fed. Cl. at 328. Second, this court has the power to render an accounting
in support of a monetary award. Klamath & Modoc Tribes v. United States, 174 Ct. Cl. 483, 490
(1966). Thus, when plaintiff requests monetary damages for breach of trust, plaintiff is, in substance,
also asking for an accounting in support of that award. See Tohono O’Odham, 79 Fed. Cl. at 653
(“assuming this action were to proceed in [the Court of Federal Claims], and plaintiff satisfied its
burden of proof, what would ensue would amount to an accounting, albeit in aid of judgment”). Thus,
this court recognizes that plaintiff’s prayers for relief, in essence, seek a declaratory judgment and an
accounting in district court, and an accounting and monetary damages in the Court of Federal Claims.
Viewed in this light, the overlapping requests for an accounting become obvious. The court in
Tohono O’Odham, best summarized these legal circumstances and reached the same conclusion:

               Unlike regulatory disputes, suits brought by Indian tribes, claiming a
               breach of trust, do not neatly separate between the exclusively
               injunctive relief typical in a district court APA review of agency action
               on the one hand, and, on the other hand, a suit here for money damages
               flowing from the consequences of that agency action. In substance,
               the action for breach of trust in this court is an equitable proceeding
               that produces a monetary remedy. Thus while the court has
               jurisdiction because of the demand for money, the process for getting
               to that relief is fundamentally equitable, meaning that there is potential
               overlap of both the accounting and money aspects of the two
               complaints.

                                                 ***

               [A]lthough a pre-liability, stand-alone general accounting is
               unavailable in this court, after a presentation of sufficient evidence, an
               accounting is unavoidable here and will be co-extensive with all the
               plaintiff’s claims of breach. The accounting is necessary to establish
               the quantum of damages. Independent, therefore, of the monetary
               relief aspects of the two complaints, there is overlap in the request for
               an accounting.



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  As noted above, plaintiff appears to recognize this proposition in its complaint in this court. (See
 Compl. ¶ 17) (“The Tribe has commenced an action against the Government for an accounting in
 U.S. District Court . . . . To the extent that such an accounting . . . determines that the Tribe has a
 monetary claim against the [d]efendant, the Tribe seeks damages on that claim in this action.”).

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79 Fed. Cl. at 657, 659. In E. Shawnee, on nearly identical facts, the court confronted and
dispensed with the same argument that plaintiff presents here:

               Eastern Shawnee contends that it does not seek the same relief in the
               actions because the relief sought in district court is solely equitable
               and the relief sought here is solely monetary. However, in substance
               the relief sought in the two complaints, an accounting and
               reimbursement for losses resulting from mismanagement, is
               overlapping. [I]f Eastern Shawnee were to establish liability for
               breaches of trust in this proceeding, an accounting would be required,
               and that accounting would overlap with the accounting available in
               equitable proceedings such as the case brought in district court.

82 Fed. Cl. at 328 (internal citations omitted).

       Plaintiff “respectfully submit[s] that Tohono O’Odham was wrongfully decided . . . .”10 (Pl.’s
Opp’n to Mot. to Dismiss at 9.) In support of this conclusion, plaintiff argues that “the relationship
between the ‘accounting and monetary aspects’ in these [Indian] trust cases is indistinguishable from
the back pay and reinstatement aspects in Casman, established as valid law in Loveladies.” (Pl.’s
Opp’n to Mot. to Dismiss at 9.) Plaintiff’s analogy to Casman falls short of the mark.

        Casman was briefly summarized earlier at footnote 6 in this opinion. To review, the plaintiff
in Casman alleged that he was illegally dismissed from his government position. 135 Ct. Cl. at 647.
 He first brought a suit for reinstatement in district court and then, while that suit was still pending,
brought a second suit in the Court of Claims for back pay. Id. In its opinion, the Casman court
observed that one of the purposes underlying § 1500 was to “require an election between a suit in the
Court of Claims and one brought in another court.” Id. at 649. The court went on to conclude:

               Here the plaintiff obviously had no right to elect between courts. The
               claim in this case and the relief sought in the district court are entirely
               different. The claim of plaintiff for back pay is one that falls
               exclusively within the jurisdiction of this court, and there is no other
               court which plaintiff might elect. On the other hand, the Court of
               Claims is without jurisdiction to restore plaintiff to his position.

Id. at 649–50. Plaintiff asserts, “As in Casman, there is no election available to [p]laintiff in seeking
relief in the form of money damages. Conversely, the jurisdiction of this [c]ourt does not include
actions in equity.” (Pl.’s Opp’n to Mot. to Dismiss at 7) (internal citations and quotations omitted).

       However, plaintiff’s attempt to analogize its case to Casman is fatally undercut by the law
noted above—this court can render the accounting plaintiff seeks in district court when considering


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   Presumably, plaintiff would also take exception to the court’s opinion in E. Shawnee, which was
 delivered the same day plaintiff filed its memorandum in opposition to the instant motion to dismiss.


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plaintiff’s request for monetary damages. Klamath & Modoc Tribes, 174 Ct. Cl. at 490. In Casman,
neither court had the power to grant the relief requested in the other; i.e., the Court of Claims could
not reinstate the plaintiff to his original position and the district court could not award monetary
damages for back pay. In the case at bar, the district court still cannot award monetary damages, but
the Court of Federal Claims can perform an accounting when considering plaintiff’s request for
monetary damages. Thus, an election was available to plaintiff, and an easy one at that—file suit in
district court and, provided plaintiff proved its case, receive an accounting, or file suit in this court
and receive the same accounting, plus the monetary damages that such an accounting would reveal.

        Because an accounting is a necessary precursor to an award of monetary damages in the Court
of Federal Claims, this court concludes that there is, at least, some overlap in the relief requested.
The fact that plaintiff also seeks additional relief in the form of a declaratory judgment in district
court is ultimately irrelevant. See Harbuck, 378 F.3d at 1329 (“The inclusion of other and different
requested relief in the two complaints does not avoid the application of [§ 1500]”). Moreover,
plaintiff’s request for such a declaration only serves plaintiff’s goals of obtaining an accounting. To
be sure, as discussed above, such an accounting is necessary to support an award of monetary
damages. In other words, the relief that plaintiff seeks in district court—a declaratory judgment and
an accounting—is not “distinctly different” from the request for monetary damages in this court.
Accordingly, the second prong of the § 1500 analysis is satisfied.

        Plaintiff contends that by bringing its motion to dismiss, defendant is trying to “whipsaw
[p]lainitff into a jurisdictional no-man’s land where it is left without a remedy.” (Pl.’s Opp’n to Mot.
to Dismiss at 2.) The court can only respond that plaintiff elected to enter this jurisdictional no-man’s
land when it sought duplicate relief on the same facts in two different courts at the same time.
Allowing plaintiff’s case to move forward would undermine both of the identified purposes
underlying § 1500. Not only would it force the United States to simultaneously defend itself from
the same claim in two separate forums, but plaintiff would also have skirted its duty to elect one
forum before prosecuting its claim. This should not have been a difficult choice for plaintiff to make.
Provided plaintiff proved its case, this court could have provided the relief that plaintiff sought—both
an accounting and subsequent monetary damages. Instead, pursuant to the mandate of 28 U.S.C.
§ 1500, this court now lacks jurisdiction over the matter.

                                         IV. CONCLUSION

       Accordingly, defendant’s motion to dismiss is GRANTED. The clerk is directed to dismiss
the complaint without prejudice. Each side shall bear its own costs. IT IS SO ORDERED.


                                               s /Lawrence J. Block
                                               Lawrence J. Block
                                               Judge




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